       Case 1:21-cv-01746-JGK-SN Document 376 Filed 03/29/23 Page 1 of 2




                                                                March 29, 2023


Via ECF
The Honorable Sarah Netburn
United States Magistrate Judge
40 Foley Square, Room 430
New York, NY 10007

Re:     Roche Freedman LLP v. Jason Cyrulnik, No. 1:21-cv-1746 (S.D.N.Y.)

Dear Judge Netburn:

       We write on behalf of Plaintiff and Counterclaim-Defendant Roche Freedman LLP (“RF”)
to respectfully request a limited amendment to one sentence of the Court’s order of yesterday,
March 28, 2023. (Dkt. No. 375.) 1

         Specifically, the Order states: “In October 2022, these videos led to the disqualification of
Roche Freedman as class counsel in a substantial class action litigation.” (Id. at 2 (emphasis
added). RF respectfully requests this sentence be amended to reflect that Judge Failla did not issue
a disqualification order, so that it reads in sum and substance as follows: “In October 2022, these
videos led to the removal of Roche Freedman as interim class counsel in a substantial class action
litigation.”

         While this correction may seem minor, it is of consequence to RF. Judge Failla specifically
stated that she did not regard “the issue” in the Tether litigation “as one of disqualification of a
firm.” (Ex. 1, Tether Tr. at 3:20-4:1.) Instead, she found that RF’s continued involvement,
“actually [arose] under Federal Rule of Civil Procedure 23(d)(2), which allows an order under
Rule 23(d)(1) to be altered or amended from time to time and to be combined with an order under
Rule 16.” (Id.) Her order emphasized that the class in the Tether case would face additional
litigation burdens as a result of the videos and Mr. Roche’s continued involvement, and that the
potential distraction outweighed the benefit of RF’s continued role as one of three interim lead
counsel in the case. This finding is markedly different from an order of disqualification based on
specific findings of fact and legal conclusions, which Judge Failla expressly stated she was not
making. (Tether Tr. at 10:20-11:1.)

         RF respectfully requests the proposed amendment, or any similar language the Court sees
fit to use, so that its counterparties in other litigation cannot seize upon this Order to wrongly claim
the firm has been “disqualified,” which is untrue and has other implications. Notably, RF does not

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  “Provided a district court has jurisdiction over a case, it possesses ‘inherent power’ to reconsider
interlocutory orders ‘when it is consonant with justice to do so.’” Hassan v. Fordham Univ., 533 F. Supp.
3d 164, 166-67 (S.D.N.Y. 2021).
      Case 1:21-cv-01746-JGK-SN Document 376 Filed 03/29/23 Page 2 of 2

                                                                                    Page 2


believe this modification would have any substantive effect on the Court’s Order; it merely
corrects a small, but consequential, error in the recitation of the history of this issue.



                                                Respectfully,

                                                /s/ Jonathan Bach

                                                Jonathan Bach

cc:    Counsel of Record (via ECF)




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